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 4
     Attorney for Defendant
 5   BISMARK MARTIN OCAMPO

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 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,               )    2:07-CR-00248-08 WBS
11                                           )
                                Plaintiff,   )
12                                           )    STIPULATION AND [PROPOSED]
     v.                                      )    ORDER TO MODIFY BRIEFING
13                                           )    SCHEDULE
                                             )
14   BISMARK MARTIN OCAMPO,                  )
                                             )
15                           Defendant.      )
     __________________________________      )
16

17         On December 9, 2016, this Court ordered the deadline for the parties to

18   file a stipulation regarding a potential motion pursuant to Federal Rule of

19   Criminal procedure 35 and a possible Amendment 782 reduction to be extended

20   to January 20, 2017.     CR 1478.

21         Assistant United States Attorney Jason Hitt has informed Ms. Radekin

22   that he needs additional time to assess the appropriate reductions under Rule

23   35 and/or Amendment 782.     Ms. Radekin has no opposition to an extension of

24   time to allow the government to complete the tasks.

25         Accordingly, the parties stipulate and request that the date due for

26   the filing of a stipulation regarding a Rule 35 and/or Amendment 782

27   reduction be extended to February 21, 2017.     Assistant United States Attorney

28   Jason Hitt has authorized Ms. Radekin to sign this stipulation on his behalf.



             STIPULATION AND [PROPOSED] ORDER TO MODIFY REPLY BRIEF DUE DATE - 1
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 1            The parties respectfully request the Court adopt the above stipulation.

 2   Dated: January 19, 2017                        PHILLIP A. TALBERT
                                                    Acting United States Attorney
 3
                                            By:     /s/ Jason Hitt
 4                                                  JASON HITT
                                                    Assistant United States
 5

 6   Dated: January 19, 2017                        /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
 7                                                  Attorney for Defendant
                                                    BISMARK MARTIN OCAMPO
 8

 9

10                                          ORDER

11            Pursuant to the parties’ stipulation, and good cause appearing, it is

12   hereby ordered that the current deadline for the filing of a stipulation

13   regarding a Rule 35 and/or Amendment 782 reduction, January 20, 2017 be

14   VACATED, and that the deadline for filing of such stipulation be sent on

15   February 21, 2017.

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     Dated:    January 23, 2017
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                STIPULATION AND [PROPOSED] ORDER TO MODIFY REPLY BRIEF DUE DATE - 2
